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 5
     Mark S. Bosco
 6   State Bar No. 010167
     Leonard J. McDonald
 7   State Bar No. 014228
     ljm@tblaw.com
 8   Attorneys for Secured Creditor
 9   18-00814
10                       IN THE UNITED STATES BANKRUPTCY COURT
11                                  FOR THE DISTRICT OF ARIZONA
12

13   IN RE:                                                                    Chapter 13
14
     Michael Wayne Kennedy                                           Case No. 2:19-bk-13511-BKM
15
                  Debtors.                                       OBJECTION TO CHAPTER 13 PLAN
16   _______________________________________
     GMAT Legal Title Trust 2013-I, U.S. Bank
                                                                    IN RE: Real Property Located at
17   National Association, as Legal Title Trustee                       38335 W. Montebello
                                                                         Tonopah, AZ 85353
18                   Secured Creditor,
              vs.
19

20   Michael Wayne Kennedy, Debtors; Russell Brown,
     Trustee.
21
                     Respondents.
22

23

24            GMAT Legal Title Trust 2013-I, U.S. Bank National Association, as Legal Title Trustee, a secured

25   creditor, by its attorneys, TIFFANY & BOSCO, P.A., hereby objects to the proposed Chapter 13 Plan filed

26   by the Debtor for the following reason:




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 1          The Chapter 13 Plan does not adequately provide for repayment of arrearages owed to Secured
 2   Creditor in the approximate amount of $25,253.75. Secured Creditor is in the process of filing a Proof of
 3   Claim. Secured Creditor requests that the arrearages be paid through the Plan.
 4          WHEREFORE, Secured Creditor prays as follows:
 5              1. That confirmation of the proposed Chapter 13 Plan be denied;
 6              2. For attorney’s fees and costs incurred herein;
 7              3. For such other and further relief as this Court deems just and proper.
 8          DATED this 13th day of December, 2019.

 9                                                         Respectfully submitted,
10
                                                           TIFFANY & BOSCO, P.A.

11                                                         BY: /s/ LJM #014228
                                                                Mark S. Bosco
12                                                              Leonard J. McDonald
                                                                Attorneys for Secured Creditor
13   COPY of the foregoing mailed
     December 13, 2019 to:
14

15   Michael Wayne Kennedy
     P.O. Box 502
16   Tonopah, AZ 85354
     Debtors
17
     Sandra C. Oswalt
18
     300 West Clarendon Ave.
19   Ste. 290
     Phoenix, AZ 85013
20   Attorney for Debtor

21   Russell Brown
     3838 North Central Avenue
22   Suite 800
23
     Phoenix, AZ 85012-1965
     Trustee
24
     By: Jody Wilkens
25

26




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